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Ivory Oliver Rucker, Ill                                               Case No. 1:20-CV-3246



Ground 19 - Ivory is not mentally incompetent. Court Appointed Evaluator, Diana Lang, reported Ivory
incapacitated by reason of mental illness on 5/31/2018 and again 6/18/2018.

Ivory Oliver Rucker was diagnosed in his 20's with Paranoid Schizophrenia. According to D. Lang, Court
Appointed Evaluator, Ivory did not understand the reason he was incarcerated.



Ground 20 - Ivory has been in Capitol Police Custody since 4/28/2018. Ivory has not had a jury or bench
trial. Ivory's right to a Speedy and Public Trial have been violated.

Ivory was not brought to term within the 2nd term of his arrest.

Tne Court has not filed an accusation in this misdemeanor case within the two year limitation.



Ground 21- Ivory has a Right to Adequate Representation. However, he has never met the attorney.

According to Ivory, he did not waive his rights to a Jury Trial and he has never met with any attorney to
sign anything.

Ivory wants a jury trial and was not consulted about his defense. Ivory hasn't been visited by any
attorneys in the past two years. He has been at Fulton County Jail and Georgia Regional Hospital,
Panthersville.




Ground 22 - Ivory's right and entitlement to be present at the Preliminary Hearing and represent his
right afforded by due process under the law within 48 to 72 hours has been violated.

Ivory didn't appear before a judge within the mandated 48 to 72 hours to hear his charges. He wasn't
told why he was in jail.



Ground 23 - Ivory has the right to be confronted with witnesses against him. Sixth Amendment

  Ivory has not had the right of confrontation, the right of cross-examination, and the right to have
testimony offered under sanction of oath.




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Ground 24 - The United States Constitution at, Article Five of the Bill of Rights, is a guarantee to each
citizen that he will not be deprived of his liberty without due process of law.

Ivory Oliver Rucker is a natural born citizen and inhabitant of State of Georgia and is entitled to due
process of the law.



Ground 26 - Ivory has a Right to Grand Jury Hearing within 90 days where bail refused. Right to have
bail set absent hearing within 90 day period.

Ivory hasn't received a Grand Jury Hearing within the mandated time in Georgia.. Ivory still has no bail.



Ground 27 - Ivory Oliver Rucker's continued detention violates his right to substantive due process
through deprivation of the core liberty interest in freedom from bodily restraint.

Ivory wasn't offered bail and he has been in police custody since 4/28/2018. The United· States
Constitution is a guarantee to each citizen that he will not be deprived of his liberty without due process
of law.



Ground 28 - Ivory has been denied the right to assistance of counsel in Non-trial situations.

Judicial Proceedings before trial - I, Angela Rucker, petitioned DeKalb County Probate Court around May
1, 2018 for Emergency Guardtanship/(onservat-orship-of htory-Olfver Rucker.       Ttie' De~atb--tourt-
Appointed Evaluator's Report dated May 3, 2018 by Diana Lang, reported that Ivory is incapacitated due
 to mental illness and recommended Emergency Guardianship/Conservatorship because Ivory cannot
·hand\e'his·hask Aot~s without assistance. 'lagain~tmonedthe·De1<ath'County l>robat~Cquit around
June 2018 for Guardianship/Conservatorship. The DeKalb County Court Evaluator's Report by Diana
Lang dated 6/18/2018 found Ivory incapacitated due to mental illness. She recommends Guardianship
and- C-onservatorsmp-; !'-went-to-court botrrtnnes-and'-}trog~B-:C Hargrove-was the-·presrdmgjudge;- r,
Angela Rucker, thought I was awarded Conservatorship and Guardianship over Ivory Oliver Rucker and
his Estate No. 2018-0847. However, I was given paperwork with a seal stating that I was Guardian, but
was denied any information about Ivory's TRUE case. The only documents that appear to be honored
are the documents from Diana Lang, DeKalb County Court Reporter.

Groumt2~ - Attorney' amtState--llepr-esentat:tve-;· Oar-"shtm-Kendr4ek ts maUciousl-y-proseeuttng-tvory-
Oliver Rucker, Ill and abusing her power by filing a misleading report with insufficient evidence accusing
Ivory Oliver Rucker of 3 counts of Felony Stalking. Ivory was arrested on 4/28/2018 incident #18-
1:'06270tase:1'i0:1'8=1002'9. Attomey·t<.endric'k accusetHvory of Harassing tommunications·3t1"/i.Ot1
Booking Number 1704304 and 4/5/2018 Booking Number 1806905. The first case in March was
dismissed due to incompetence. Georgia Uniform Traffic Citation attached £02446750 stating that Ivory
has been served with a citation and summons. The address fisted for Ivory is 1610 Olive Street in St.

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  lvoryOfrverRucker, fff                                                  Case No. I:2U-CV-3Z46

... Louis. It was printed March 1, 2017 and summoned Ivory to court on.March 2, 2017. I don't think that
    hlsl~legal antt110t•the totrect: tm~rit'to •'S~rve,soin~e. There w~s :rio~vidence t.o sttpport.case
    17MAGC-01568 in March 2017. The order was No Contact, however, the court dismissed due to
    incompetence and expected Ivory to comply even though he was incompetent. The Harassing
    Corntrtuhications i:hiltge in 4/5/20lS, twas totd was rotted-into-this tas~ ~ A ~ Rueker, bailed tvery-
    out of jail for case# 18MAGC-02121 and he was released 4/6/2018. There are 2 incident reports -
    1100004727-01 and 1100004727-02 relating to 4/5/2018 arrest The. Narrative on the report dated
  4fSf1.01.8 ridvises·Ms: t)arshuhReridrlck'tomake rontactwlththetelepho~'Serviteprovit:tefto
  possible have Mr. Rucker's number blocked. Ms. Kendrick admitted to the Atlanta Journal Constitution,
  May 2, 2018, that her solution is to keep Ivory legally in jail, not to get him mental health treatment.
  Ms. Kendrick has made-it dear howshe-WOtltd-handte-certain-prohtems; Ms. Kendridls postecf.on-Sodat·
  Media April 19, 2018 the following post in response to an AJC.COM article about a Mentally
  handicapped girl gang-raped at Gwinnet birthday party: I hope she has some male relatives that get time
  alone with these boys. Ivory was attacked by 2 of her male relatives, Javaris Byrd and Sidney Kendrick,
  on 4/28/2018.

  AccordingtoCivit Action- P'ettnon-for Staffcing-TemporarycP:rotective-&der #l8f>oo41:9-9; Ms. Kendrick·
  stated that thejudge (Judge Cox) assumed he (Ivory) wouldn't be released but he was. Judge Cox had
  given Ivory a $1000 bond Case #lSMAGC-02121 April 6, 2018. However, to everyone's surprise Ivory did
 have-a support·netwotk''cint:Hbtttidetrhim o"iifbf jail. l~tlhe·tmpress\onthat :tutigetbx·'aritt'Ms.
  Kendrick know each other personally. It appears Ms. Kendrick spoke to the judge about bail according
  to the statement she made in the Protective Order. Therefore, when Ivory was arrested 4/28/2018, he
  was denied bail. This is an obstruction of justice and Judge Cox has put Ivory's case on judicial hold for
  over two years and denied him due process.



 ··stoumi stt...::.\, Anget-a·•Rucker;·•af:jplied·for'Emergerrcy-euartihmship/toosentator~f'hiorv'OHverRucker
 with DeKalb County Probate Court around May 1, 2018. However, the petition that I and Deborah
 James filed for Emergency Guardianship/Conservator was never processed or filed even though, I was
 gwertlettets-ofi:mergentv.Guardi~da-ted-Ma-y:~; 20.i&.m~toak,an-oath4n-~. lrt-my,opinkm,
 this is intentional deception by the parties involved in an attempt to deny Ivory help recommended.by
 the Court Appointed Evaluator. My attorney was Drew Early and Ivory's Court-Appointed Attorney was
 Mark Welsh. The presiding judge was Judge B. Hargrove.

  I made an appointment September 8, 2020 at 2:30 pm with Ms. Raketta Sauls, Clerk, to view Ivory's
  Probareftl~ twas· given-an-ltnofftdat-plainmanita-felder by-Ms. Saulswith-nothtn~wr-itten,en--it. When-t-
  asked about the Emergency Guardianship/Conservator petition, I was told that there was nothing else to
  view. lns.ide was the Petition forGuardianship/Conservatorship, nothing about the·Emergency
 ·tons~N~tonhip;··tqoestlone'tHhe-wmplete-ness'bf°th~ftte. ·:twas't6ld'~e'were'over'80'dbttimerlts
  when I asked for a copy of the file earlier in the week. However, this manila folder had about 30 pages.
  It appears that the court proceedings for Emergency Guardianship and

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 Conservatorship never even happened, even though I went to court. The Emergency
 Guardianshtp/Conservatorship held in DeKalb County Probate Court appears to be an unofficial court. I
 was denied my right to view my entire Probate file. There is al~o a handwritten note dated August 18
 09:30 stating that Ivory Rucker withdrew Conservatorship. I don't know who wrote this letter. I did not
 wltl'rdtawmyconservatorshfp·arrctlvorywasn'tahle-tomake-declstons:,fitce-thatforh1ir1seffaccordrng·to
 the Court Evaluator's Report dated May 3, 2018. Attorney Welsh nor Attorney Early visited Ivory while
 incarcerated.

 i>ostt:E»Wiction Proce~n~s -:\"vory had a right tt> arftmergency Gtiardian andC-onsenrator based on
 Diana Lang's Court Appointed Evaluator's Reports dated 5/3/2018 and 6/18/2018. Ivory is mentally
 incapacitated and should have assistance in his legal affairs. Ivory is not able to defend himself against
 the-state-- and~ state hasmade-it diffk:uftTor JW>iyOJfver Ru£ker to-get assrstan~lrom-his-srstet;
 Angela Rucker or anyone else. I, Angela Rucker, did try to get Ivory the help he needed by going to
 Probate Court so that I could handle his affairs. However, I feel that I was misled by the Probate Court
 ·of Del<.alb-C-ountyto believe thau was able to·hafidl~ \vorys -atfa,rs;-When ,n·fatfl w~s 'fi6t1eg'al1y ~bleto
 do so. I feel that is why even though I paid cash money for Attorney Gage and Attorney Abt to represent
 Ivory Oliver Rucker against the State, they felt no obligation to tell me anything TRUE about Ivory's case.
 The stgned-antBeaf-ed-letterof Guardianship-that l was-handed-had-no value. lhey-tooJE; my money and
 treated me and Ivory badly. I get the impression that Attorney Gage and Attorney Abt are obligated to
 the State of Georgia and not to defending Ivory against the State. Therefore, Ivory is helpless and based
. 'Oil evidal~·tt,;mte..:has lit>:oneworlong·on'his behalf 'mfffa-ke-'SUre-'he·gets'due ptocess;He n'e\rer even
 had his first appearance to have the charges read to him. The Court missed the deadline of 48 to 72
 hours. Ivory has a right to a Grand Jury hearing within 90 days of bail being refused. His attorney's
 should have brought this to light because their job is to make sure their client's get due process.

  Ivory had previously been homeless and not on any medication for years. He was in the military and due
· to his ParanoidSthizophrenta ft is -dfffictittlorhim to maintain relationships withotheTs ,mifhantlle his
 basic AOL's. Therefore, while Ivory is in police custody I sought Guardianship/Conservatorship. Once
 again I paid cash money to the Probate Court of DeKalb County to assist Ivory with his mental challenges
 becausehersmentatly-rncapacitatect. fJekatb-t'ounfyProbate-t'ourttookmy-money-and-no--one-
 honored the court documents that I received from Judge B. Hargrove's court in 2018. It appears that
 many obstacles stand in the way of Ivory getting due process in the State of Georgia.

 lvory is att'ieorgia~egiomil 'Hospital and't was'totdby Attorney 'aenttey {representing ~orgia 'Regional
                                                     I

 hospital) on August 24, 2020 that I, Angela Rucker, need an attorney to see my brother, Ivory Rucker.
 Due to the circumstances, I have had a difficult time securing attorney's with my and Ivory's best
 interest. J see this as another roadblotk tockeep-tvofyfrom reteh,i-ng. assistaneei-n-hls easeagatnst the-
 state. Attorney Bentley denied me access to Ivory under the pretense of Covid. I requested to see Ivory
 to sign legal documents and was previously approved for a scheduled visit. I needed approval for
·. myselt, -awftrtes-s/atidandtary. lwas'toldby-'Or.~urouxiGeotgia'~rotial)'thatA'\i~ust2'1,··at-6':'00
 was approved but I couldn't bring a witness due to Covid. She suggested that I use a hospital employee
 as a witness. I had spoken to some notaries who told me that hospital employees cannot assist as
 witnesses. I believe I was given bad information from the hospital to intentionally deny Ivory of his right
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to counsel. Once again, it appears that Ivory is being denied any legal help that would benefit him. I am
supposedly the Guardian of Ivory, but I need an Attorney to see him. It doesn't make sense and I feel
Ivory is in danger.

Considering the evidence and the unofficial courts in DeKalb County and Fulton County, it appears Ivory
really is in danger due to malicious prosecution by the state to prove their case by any means necessary.

It is also difficult for me and Ivory to secure legal representation to correct the wrongs which began with
DeKalb County Probate Court.

I, Angela Rucker, would fike the court to grant me Guardianship and Conservatorshlp over Ivory Oliver
Rucker's Estate so that I may be able to fully assist him. I don't want Ivory to become homeless again
and be abused. I have secured a 24 hour mental health group home for him in Warner Robins, Georgia.
I have-been paying NAMl, Nationat Association for Mental 111ness, for the past 10 months to secure the
room for Ivory. It costs $1600 per month. I gave the proof of payment to Ivory's attorney, Attorney
Hemanth, to submit to the court. I would like Ivory transferred directly from Georgia Regional to NAMI
in Warner Robins, GA. My contact person is Paula Karsti, Executive Director. Ivory's room is paid
through September 30, 2020.



Prayer for Relief

Please disregard the previous request for Relief and Consider the following instead:

    1. Ph~ase dismiss the indictment;
    2.   Assume jurisdiction over this matter;
    3.   Expedite consideration of this action pursuant to 28 U.S.C. 1657 because it is an action brought
         1:mderthapter 153 (habeas corpus) of Title 28;
    4.   Grant Petitioner a writ of habeas corpus directing the respondents to immediately release Ivory
         from custody and transfer him to NAMI group t:iome in Warner Robins for the mentally ill.
    s.   Pursuant'to-2& u-.s.c 2243 i'SStre arrorder-dtrecttng,respoodents t8:csl'l6w caus-e·whythe-wrlt-of"'.
         habeas corpus should not be granted;
    6. _ Award Ivory Oliver Rucker attorney's fees and costs under the Equal Access to Justice Act (EAJA),
         as amended;'s:u:s:t. S04 and 28 U.S;C. 24:1.2, and any other basis justified underlaw, and
    7. Grant any other and further relief as the Court deems just and proper.
    8. Grant Angela Rucker Guardianship and Conservatorship over Ivory Oliver Rucker's Estate due to
         Fraud by the court and the recommendations of the DeKalb County Court Evaluator, D. Lang.



September 15, 2020



                                                                                      Angela Rucker

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                      Verification by Someone acting on the Petitioner's behalf pursuant to 28 U.S.C. 2242.

            I am submitting this verification on behalf of Ivory Oliver Rucker because I am his sister. I hereby verify
            that the statements made in the attached Petition for Writ of Habeas Corpus are true and correct to the
            best of my knowledge.


            Date?!;J:2~
            Angela Rucker




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